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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF OKLAHOMA

   RICHARD FELTZ, on behalf of himself and                    )
   all others similarly situated,                             )
                                                              )
              Plaintiff,                                      )
                                                              )
   vs.                                                        ) Case No. 18-cv-00298-CVE-JFJ
                                                              )
   BOARD OF COUNTY COMMISSIONERS OF                           )
   THE COUNTY OF TULSA; VIC REGALADO,                         )
   Tulsa County Sheriff, in his official capacity;            )
   TERRY H. BITTING, TAMMY BRUCE,                             )
   MARTHA RUPP CARTER, STEPHEN R.                             )
   CLARK, THERESA DREILING, OWEN                              )
   EVENS, JAMES W. KEELEY, DEBORAH                            )
   LUDI-LEITCH, J. ANTHONY MILLER,                            )
   DAWN MOODY, MILLIE OTEY, KIRSTEN                           )
   PACE, APRIL SEIBERT, CLIFFORD SMITH                        )
   and SARAH SMITH, in their capacity as Tulsa                )
   County Special Judges; WILLIAM                             )
   MUSSEMAN, in his capacity as Tulsa                         )
   County District Court Judge,                               )
                                                              )
              Defendants.                                     )

                            DEFENDANT STATE JUDGES’ NOTICE OF
                               SUPPLEMENTAL OF AUTHORITY

          Defendant State Judges William LaFortune, 1 in his official capacity as Presiding Judge,

   and Terry H. Bitting, Tammy Bruce, Martha Rupp Carter, Stephen R. Clark, Theresa Dreiling,

   Owen Evens, James W. Keeley, Deborah Ludi-Leitch, J. Anthony Miller, Dawn Moody, Millie

   Otey, Kirsten Pace, April Siebert, Clifford Smith and Sarah Smith, in their capacity as Special

   Judges, by and through the undersigned counsel, respectfully provide notice to the Court of



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             Judge LaFortune became presiding judge on January 1, 2020 and was automatically
   substituted for Judge Musseman pursuant to Fed. R. Civ. P. 25(d); however, all references will be
   to Judge Musseman when discussing events that happened between January 1, 2018 and December
   31, 2019 as Judge Musseman was the presiding judge during that time period and the allegations
   in the Amended Complaint refer to his personal actions.
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   supplemental authority. On December 28, 2020, the Fifth Circuit Court of Appeals issued an

   opinion in Shannon Daves, et al. v. Dallas County, Texas, et al., Case No. 18-11368, which is

   attached as Exhibit 1 to this Notice. This opinion involves similar claims and issues as those

   raised by Plaintiff and Defendant State Judges in this case such that the opinion while not binding

   precedent may be informative for the Court in relation to Doc. Nos. 104 and 173.


                                                Respectfully submitted,

                                                 s/ Stefanie E. Lawson
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                                   CERTIFICATE OF SERVICE

           I hereby certify that on this 15th day of January, 2021, I electronically transmitted the
   foregoing document to the Clerk of Court using the ECF System for filing and I further certify that
   on this date a true and correct copy of the foregoing was served on following who are ECF
   registrants:
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    Hayley Horowitz                                    Ryan Downer
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                                                             s/ Stefanie E. Lawson




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